 8:06-cr-00023-JFB-FG3           Doc # 149    Filed: 07/10/09   Page 1 of 1 - Page ID # 359




                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF NEBRASKA
UNITED STATES OF AMERICA,                      )         CASE NO. 8:06 CR 23
                                               )
                    Plaintiff,                 )
                                               )         ORDER RELEASING
v.                                             )         DEFENDANT FROM CUSTODY
                                               )         AND CONTINUING DISPOSITION
JEREMY TORPY,                                  )
                                               )
                    Defendant.                 )


      The Defendant, Jeremy Torpy, by and through his attorney, Jessica P. Douglas, has

filed a motion requesting release from custody on July 13, 2009 to attend in-patient

treatment. All parties agree to the Defendant’s release. The parties further agree that

disposition should be continued to allow the Defendant to complete the in-patient program

at the Stephen Center HERO program.

      Therefore, the Court finds that the Defendant shall be release on July 13th, 2009 and

transported by a member of the Federal Public Defender’s office. Further, the Court orders

that if the Defendant attempts to leave the treatment program before completion, the Court

be notified immediately. The Court further finds that disposition of this case shall be

continued until October 7, 2009 at 1:00 p.m..

      DATED this 10th day of July, 2009.

                                             BY THE COURT:



                                             s/ Joseph F. Bataillon
                                             Chief District Judge
